           Case 2:22-cv-02451-WB Document 68 Filed 07/11/23 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 EARLANDO SAMUEL,                                           CIVIL ACTION
              Plaintiff,

               v.

 THE DELAWARE COUNTY HOUSING                                NO. 22-2451
 AUTHORITY, LAURA BLACKBURN,
 DAWN WARE, CHRISTINA PRO,
 INGERMAN PROPERTY
 MANAGEMENT, RASHIDA SMITH,
 RYANN WILLIAMS, NEFERTITI
 RIVERS, TERRI HARDIN, GREG
 WARD, and CATHERINE CUENY,
                 Defendants.

                                          ORDER

       AND NOW, this 11th day of July, 2023, upon consideration of the Motion to Dismiss

filed by Defendants the Delaware County Housing Authority, Laura Blackburn, Dawn Ware,

Christina Pro, and Catherine Cueny (collectively, “DCHA Defendants”) (ECF No. 40), and

Plaintiff Earlando Samuel’s Response in Opposition thereto (ECF No. 41); the Motion to

Dismiss filed by Defendants Ingerman Property Management, Rashida Smith, Ryann Williams,

Nefertiti Rivers, Terri Hardin, and Greg Ward (collectively, “Ingerman Defendants”) (ECF Nos.

51 & 57), and Plaintiff’s Response in Opposition thereto (ECF No. 54); and Plaintiff’s Motions

for Judgment on the Pleadings (ECF Nos. 48 & 50), and DCHA Defendants’ (ECF No. 58) and

Ingerman Defendants’ (ECF No. 59) Responses in Opposition thereto, IT IS ORDERED as

follows:

   1. DCHA Defendants’ Motion is GRANTED IN PART, AND DENIED IN PART:

           a. The Motion is GRANTED as to Plaintiff’s claims for violations of the Fair
              Housing Act, violations of the Pennsylvania Unfair Trade Competition and
              Consumer Protection Law, and intentional infliction of emotional distress all of
              which are DISMISSED WITHOUT PREJUDICE.
      Case 2:22-cv-02451-WB Document 68 Filed 07/11/23 Page 2 of 2




       b. The Motion is GRANTED as to Plaintiff’s claims for violations of the Americans
          with Disabilities Act, the Federal Trade Commission Act, 18 U.S.C. § 241, and 18
          U.S.C. § 2261A, all of which are DISMISSED WITH PREJUDICE.
       c. The Motion is DENIED as to Plaintiff’s claim for violation of 24 C.F.R. §
          982.316.
2. Ingerman Defendants’ Motion is GRANTED:

       a. The Motion is GRANTED as to Plaintiff’s claims for violations of the Fair
          Housing Act, violations of the Pennsylvania Unfair Trade Competition and
          Consumer Protection Law, and intentional infliction of emotional distress all of
          which are DISMISSED WITHOUT PREJUDICE.
       b. The Motion is GRANTED as to Plaintiff’s claims for violations of the Americans
          with Disabilities Act, the Federal Trade Commission Act, 18 U.S.C. § 241, 18
          U.S.C. § 2261A, and 24 C.F.R. § 982.316, which are DISMISSED WITH
          PREJUDICE.
3. Plaintiff’s Motions for Judgment on the Pleadings are DENIED.



                                                BY THE COURT:



                                                /s/Wendy Beetlestone, J.

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                                                WENDY BEETLESTONE, J.




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